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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                                             CRIMINAL ACTION
               Plaintiff,                                    NO. 10-20338

  v.                                                         HON. PAUL D. BORMAN



(3) Franklin Baquedano

               Defendant.

_______________________________________/

                       ORDER ALLOWING EXTENDED VISITATION

       On October 29, 2010, a Motion to allow extended visitation. The motion indicates

that defendant’s mother is visiting from Honduras and will only be here for several weeks.

Counsel for the government has no objection.

       Therefore; IT IS ORDERED that defendant’s mother is permitted to visit defendant in the

St. Clair County Jail three times per week for sixty minutes at a time.

       SO ORDERED.




                                              S/Paul D. Borman
                                              PAUL D. BORMAN
                                              UNITED STATES DISTRICT JUDGE

Dated: November 4, 2010
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                                 CERTIFICATE OF SERVICE

Copies of this Order were served on the attorneys of record by electronic means or U.S. Mail on
November 4, 2010.


                                           S/Denise Goodine
                                           Case Manager
